          Case 3:11-cr-04399-WQH                        Document 57                  Filed 01/23/12            PageID.191              Page 1 of 2


    "!tAO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
               Sheet I



                                              UNITED STATES DISTRICT CO.
                                                  SOUTHERN DISTRICT OF CALIFORNI
                    UNlTED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL,..."r:.. u ....
                                        v.                                           (For Offenses Committed On or After November 1,1987)

                     RlGOBERTO VEGA-LOPEZ (4)                                        Case Number: IICR4399-WQH
                                                                                     GRANT EDDY, CJA
                                                                                     Defendant's Attorney
    REGISTRATION NO. 28319298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) _1_O_F_T_H_E_IN_F_O_RMA_T_IO_N
                                                      __        _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 841(a)(I)                      POSSESSION OF MARIJUANA WITH INTENT TO DISTRIBUTE                                                     1
18 USC 2




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o
  o Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _-------------------------------------
      The defendant has been found not guilty on count(s)
                                       _ _ _ _ _ _ _ is 0 areD dismissed on the motion of the United States.

  181 Assessment: $100.00


  181 Fine waived                                   o    Forfeiture pursuant to order filed
                                                                                                   ------------                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                11 CR4399-WQH
    Case 3:11-cr-04399-WQH                         Document 57      Filed 01/23/12           PageID.192          Page 2 of 2

AO 2459 (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                              Judgment   Page _ _2 _ of
 DEFENDANT: RlGOBERTO VEGA-LOPEZ (4)
 CASE NUMBER: llCR4399-WQH
                                                           lMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
         8 months



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
     o   The defendant shall surrender to the United States Marshal for this district:

           Oat                                     Oa.m.    Op.m.   on
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before
                  -------------------------------------------------------------------------
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at ___________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                    By _ _ _ _~~~~~~~~~~-----
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                    11CR4399-WQH
